     Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 1 of 33




                  UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT 8F PENNSYLVANIA

UNITED STATES OF AMERICA               cR. NO. 3:23-CR-135

           v,                          (Judge Mannion)

DAWN TBOTTA,                           (electronically filed)
                       Defendant

                         PLEAAGREEMENT

     The following PIea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above'

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Yiolation(s). Pqualties. and Dispispal gf Qther Counts

    1. Waiver of Indictment/Plea of GuilJv. The defendant agrees to
       waive indictment by a grand jury and plead guilty to a felony

       Information, which will be filed against the defendant by the

       United States Attorney for the Middle District of Pennsylvania.

       That Information will charge the defendant with a violation of

       Title 18, United States Code, $ 371, Conspiracy to Commit Theft

       of Major Artwork, Concealment and Disposal of Major Artwork,
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 2 of 33




 and Interstate Transportation of Stolen Property. The

 maximum penalty for that offense is imprisonment for a period

 of five years, a fine of $250,000, a maximum term of supervised

 release of three years, to be determined by the Court, which

 shall be served at the conclusion ofand in addition to any term

 of imprisonment, the costs of prosecution, denial of certain

 federal benefits, and an assessment in the amount of $100. At

 the time the guilty plea is entered, the defendant shall admit to

 the Court that the defendant is, in fact, guilty ofthe offenses

 charged in the Information. The defendant agrees that the

 United States may, at its sole election, reinstate any dismissed

 charges or seek additionai charges in the event that any guilty

 plea entered or sentence imposed pursuant to this Agreement is

 subsequently vacated, set aside, or invalidated by any Court.

 The defendant further agrees to waive any defenses to

 reinstatement of those charges, or the {iling of additional

 charges, based upon laches, the assertion of speedy trial rights,

 any applicable statute oflimitations, or any other ground. The
                             2
 Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 3 of 33




   calculation of time under the Speedy Trial Act for when trial

   must commence is tolled as of the date of the defendant's

   signing of this Agreement, until either (a) ttre defendant pleads

   guiltyi or (b) a new date is set by the Court for commencement

   of trial.

2. Venue Waiver. The defendant a grees to knowingly waive the
   right to challenge venue over the charged oflense in the United

   States District Court for the Middle District of Pennsylvania.

3. Term of SuDE rvised Release. The defendant also understands
   that the Court may impose a term of supervised release

   following any sentence of imprisonment exceeding one year, or

   when required by statute. The Court may require a term of

   supervised release in any other case. In addition, the defendant

   understands that as a condition of any term of supervised

   release or probation, the Court must order that the defendant

   cooperate in the collection of a DNA sample if the collection of a

   sample is so authorized by larv.


                                D
     Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 4 of 33




   4. No Further Pro secution. Except Tax Charees. The United
       States Attorney's Office for the Middle District of Pennsylvania

       agrees that it will not bring any other criminal charges against

      the defendant directly arising out ofthe defendant's

      involvement in the offenses described above. However, nothing

      in this Agreement will limit prosecution for criminal tax

      charges, ifany, arising out ofthose offlenses.

B. Fines and Assesements
   5. Fine. The defendant understands that the Court may impose a
      fine pursuant to the Sentencing Reform Act of 1984. The willful

      failure to pay any fine imposed by the Court, in full, may be

      considered a breach ofthis Plea Agreement. Further, the

      defendant acknowledges that willful failure to pay the fine may

      subject the defendant to additional criminal violations and civil

      penalties pursuant to Title 18, United States Code, g 3611, et

      seq.

   6. Alternative Fine. The defendant understands that under the
      alternative fine section of Title 18, United States Code, $ 8b71,
                                   4
 Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 5 of 33




   the maximum fine quoted above may be increased if the Court

   finds that any person derived pecuniary gain or suffered

   pecuniary loss from the offense and that the maximum fine to

   be imposed, if the Court elects to proceed in this fashion, could

   be twice the amount of the g:ross gain or twice the amount of the

   gross loss resulting from the offense.

7. Inmate Financial Re sponsibilitv Program. If the Court orders a
   fine or restitution as part ofthe defendant's sentence, and the

   sentence includes a term ofimprisonment, the defendant agrees

   to voluntarily enter the United States Bureau ofPrisons-

   administered program known as the Inmate Financial

   Responsibility Program, through which the Bureau of Prisons

   will collect up to 50% ofthe defendant's prison salary, and up to

   50% ofthe balance ofthe defendant's inmate account, and apply

   that amount on the defendant's behalf to the payment of the

   outstanding frne and restitution orders.

8.S ecl        ssment. The defendant understands that the Court

   will impose a special assessment of $100, pursuant to the
                                5
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 6 of 33




    provisions of Title 18, United States Code, $ 3013. No later

    than the date of sentencing, the defendant or defendant's

    counsel shall mail a check in payment of the special assessment

    directly to the Clerk, United States District Court, Middle

    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated as a brcach of

    this Plea Agreement and may result in further prosecution, the

   filing of additional criminal charges, or a contempt citation.

9. Collection of Financi-al ObliEations. In order to facilitate the
   collection of financial obligations imposed in connection with

   this case, the defendant consents and agreesi

       to fully disciose aLl assets in which the defendant has an

       interest or over which the defendant has control, directly or

       indirectly, including those held by a spouse, nominee, or

       other third partyi

   b. to submit to interviews by the Government regarding the
       defendant's financial statusi



                                6
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 7 of 33




  c   to submit a complete, accurate, and truthful financial

      statement, on the form provided by the Government, to the

      United States Attorney's Office no later than 14 days

      following entry of the guilty pleai

  d. whether represented by counsel or not, to consent to contact
      by and communication with the Government, and to waive

      any prohibition against communication with a represented

      party by the Government regarding the defendant's

      financiai status;

  e   to authorize the Government to obtain the defendant's

      credit reports in order to evaluate the defendant's ability to

      satisfy any financial obligations imposed by the Courti and

  f. to submit any financial information requested by the
      Probation Offi.ce as directed, and to the sharing of financial

      information between the Government and the Probation

      Office.




                               7
    Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 8 of 33




C. Sentencine              s Calculation

   10.    etermination                             . The defendant and
         counsel for both parties agree that the United States Sentencing

         Commission Guidelines, which took effect on November 1, 1987,

         and its amendments (the "sentencing Guidelines"), will apply to

         the offense or offlenses to which the defendant is pleading guilty.

         The defendant understands that the Sentencing Guidelines are

         advisory and not binding on the Court. The defendant further

         agrees that any legal and factual issues relating to the

         application of the Sentencing Guidelines to the defendant's

         conduct, including facts to support any specific offense

         characteristic or other enhancement or adjustment and the

         appropriate sentence within the statutory maximums provided

         for by law, will be determined by the Court after briefing, a pre-

         sentence hearing, or a sentencing hearing.

   11. Acceptance of Rgsponsibilitv- Twollhreg Levels. If the

         defendant can adequately demonstrate recognition and

         alfirmative acceptance of responsibility to the Government as
                                     8
 Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 9 of 33




      required by the Sentencing Guidelines, the Government will

      recommend that the defendant receive a two- or three-level

      reduction in the defendant's offense level for acceptance of

      responsibility. The third level, if applicable, shall be within the

      discretion of the Government under U.S.S.G. $ 3E1.1. The

      failure ofthe Court to find that the defendant is entitled to a

      reduction shall not be a basis to voitl this Agreement.

L2.     e C'IT'     n                  Beco                . With respect
      to the application of the Sentencing Guidelines to the

      defendant's conduct, the parties agree to recommend as follows:

      Each party reserves the right to make whatever remaining

      arguments it deems appropriate with regard to application of

      the United States Sentencing Commission Guidelines to the

      defendant's conduct. The parties agree that a sentence within

      this range ofthe Sentencing Guidelines is a reasonable sentence

      under the facts and circumstances of this case. IJnder U.S.S.G.

      S2B1.6(d and $2X1.1, the Base Offense Level is 8. Under

      U.S.S.G. S2B1.5(bX1)GX1), ttre value of the cultural heritage
                                   I
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 10 of 33




  resouroes exceeded $6,500 antl the offenee level will be

  increased by the number of levele from the table in U.S.S.G.

  $281.1 corresponding to the value ofthe "objects ofcultural

  heritage" relevant to the d.efendanf,e conduct. Under U.S.S.G.

  $2B1.5(b)(4), there ie a 2'level enhancement of the ofrense level

  because the ofrense was committed for pecuniary gain. Under

  U.S.S.G. $381.2(b), there is a 2-Ievel reduetion in the ofrenee

  Ievel becauee the defendant was a minor participant in the

  conspiracy. The defendant understands that any

  recommendations are not binding upon either the Court or the

  United States Probation Office, which may make di.fferent

  findings as to the application of the Sentencing Guidelines to

  the defendant's conduct. The defendant further understands

  that the United States will provide the Court and the United

  States Probation Office a1l information in its possession that it

  deems relevant to the application of the Sentencing Guidelines

  to the defendant's conduct.



                                10
   Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 11 of 33




D. Sentenchs Recommendation
   13. Aonrooriate S entence Recommendation. At the time of

      sentencing, the United States may make a recommendation

      that it considers appropriate based upon the nature and

      circumstances of the case and the defendant's participation in

      the offense, and specifically reserves the right to recommend a

      sentence up to and including the maximum sentence of

      imprisonment and fine allowable, together with the cost of

      prosecution.

   14. Special Condi tions of Probation/Supervised Release. If

      probation or a term of supervised release is ordered, the United

      States may recommend that the Court impose one or more

      special conditions, including but not limited to the following:

      a   The defendant be prohibited from possessing a firearm or

          other dangerous weapon,

      b. The defendant make restitution, if applicable, the payment
          of which shall be in accordance with a schedule to be

          determined by the Court.
                                  11
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 12 of 33




   c.   The defendant pay any frne imposed in accordance with a

        schedule to be determined by the Court.

   d. The defendant be prohibited from incurring new credit
        charges or opening additional lines ofcredit without

        approval ofthe Probation Office unless the defendant is in

        compliance with the payment schedule

   e    The defendant be directed to provide the Probation Office

        and the United $tates Attorney access to any requested

        financial information.

   f. The defendant be confined in a community treatment
        center, halfway house, or similar facility,

   g. The defendant be placed under home confi.nement.
   h. The defendant be ordered to perform community service,
   I.   The defendant be restricted from working in certain types of

        occupations or with certain individuals if the Government

        deems such restrictions to be appropriate.




                                 t2
     Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 13 of 33




       j.   The defendant be directed to attend substance abuse

            counseling, which may include testing to determine whether

            the defendant is using drugs or alcohol.

       k. The defendant be directed to attend psychiatric or
            psychological counseling and treatment in a program

            approved by the Probation OfEcer.

       l. The defendant be denied certain federal benefits including
            contracts, grants, loans, fellowships, and licenses.

       m. The defendant be directed to pay any state or federal taxes
            and file any and a1l state and federal tax returns as

            required by law.

E. Victine'Rights and Restitution
   15. Viclims'RiFhts. The defendant understands that pursuant to

       the Victim and Witness Protection Act, the Crime Victims'

       Rights Act, the Justice for AII Act, and the regulations

       promulgated under those Acts by the Attorney General ofthe

       United States, crime victims have the following rights:

            The right to be reasonably protected from the accusedi
                                    13
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 14 of 33




   b. The right to reasonable, accurate, and timely notice ofany
       public court proceeding or any parole proceeding involving

       the erime, or ofany release or escape ofthe accusedi

   c. The right not to be excluded from any such public court
       proceeding, unless the Court, after receiving clear and

       convincing evidence, determines that testimony by the

       victim would be altered materially if the victim heard other

       testimony at that proceedingi

   d. The right to be reasonably heard at any public hearing in
       the Court involving release, plea, sentencing, or any parole

       proceeding. The defendant understands that the victims'

       comments and recommendations at any of these proceedings

       may be different than those of the parties to this

       Agreementi

   e   The reasonable right to confer with the attorney for the

       Government in the case. The defendant understands that

       the victims' opinions and recommendations given to the

       attorney for the Government may be different than those
                               74
 Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 15 of 33




       presented by the United States as a consequence ofthis

       Agreementi

   f. The right to full and timely restitution as provided for by
       Iaw. The attorney for the Government is required to "fully

       advocate the rights ofvictims on the issue ofrestitution

       unless such advocacy would unduly prolong or complicate

       the sentencing proceeding," and the Court is authorized to

       order restitution by the defendant including, but not limited

       to, restitution for property loss, economic loss, personal

       injury, or deathi

   g. The right to proceedings free from uffeasonable delayi and
   h. The right to be treated with fairness and with respect for
       the victim's dignity and privacy.

16. Restitution. The defendant acknowledges that, pursuant to the

   Mandatory Restitution Act of April 24, 1996, Title 18, United

   States Code, $ 3663A, the Court is required in aII instances to

   order full restitution to all victims for the losses those victims

   have sufflered as a result ofthe defendant's conduct. The
                                15
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 16 of 33




   defendant also agrees that the Government will seek, and the

   Court may impose an order of restitution as to victims of the

   defendant's relevant conduct. With respect to the payment of

   restitution, the defendant further agrees that, as part ofthe

   sentence in this matter, the defendant shall be responsible for

   making payment of restitution in full, unless the defendant can

   demonstrate to the satisfaction of the Court that the defendant's

   economic circumstances do not allow for the payment of fuII

   restitution in the foreseeable future, in which case the

   defendant will be required to make partial restitution

   payments. In addition to the schedule of payments that may be

   established by the Court, the defendant understands and agrees

   that, pursuant to the Mandatory Victims Restitution Act of

   1996 and the Justice For All Act of 2004, victims of federal

   crimes are entitled to full and timely restitution. As such, these

   payments do not preclude the Government from using other

   assets or income ofthe defendant to satisfu the restitution

   obligation. The defendant understands and agrees that the
                               16
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 17 of 33




  United States Attorney's Office, by and through the Financial

  Litigation Unit, has the obligation and the right to pursue any

  legal means, including but not limited to, submission of the debt

  to the Treasury Offset Program, to collect the full amount of

  restitution owed to the victims in a timely fashion. Although

  the defendant may reserve the right to contest the amount of

  restitution owed, the defendant agrees to take all steps to

  facilitate collection of all restitution, including submitting to

  debtor's exams as directed by the Government. Towards this

  goal, the defendant agrees to waive any further notice of

  forfeiture and agrees that the United States may, at its sole

  election, elect to pursue civil or criminal forfeiture in the

  amount of the victim restitution owed in this case, and the

  Court may enter both a restitution order and a forfeiture

  judgment in the amount of any unpaid restitution found by the

  Court to be due and owing at the time of sentencing in this

  matter. The defendant consents to the ffing of any civil

  complaint or superseding information which may be necessary
                               l7
 Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 18 of 33




   to perfect a forfeiture order and further stipulates and agrees

   that the defendant's guilty plea constitutes an admission to all

   matters legally and factually necessary for entry of a forfeiture

   order in this case. The parties agree that the Government will

   recommend, but cannot guarantee, that any assets recovered

   through forfeiture proceedings be remitted to crime victims to

   reduce the defendant's restitution obligation in this case. The

   defendant acknowledges that the making of any payments does

   not preclude the Government from using other asgets or income

   ofthe defendant to satisfy the restitution obligation. The

   defendant understands that the amount ofrestitution

   calculated for purposes of Chapter 5 ofthe Sentencing

   Guidelines might be different from the amount of loss calculated

   for purposes of Chapter 2 ofthe Sentencing Guidelines.

17. Full Restitution by Schedule. The defendant agrees to make

   full restitution in accordance with a schedule to be determined

   by the Court.



                               18
       Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 19 of 33




F. I            n Provided to Court and Probation OfEce

   18. Backeround Inform.ation lbr Probation Office. The defendant

         understands that the United States will provide to the United

         States Probation Office all information in its possession that the

         United States deems relevant regarding the defendant's

         background, character, cooperation, ifany, and involvement in

         this or other offenses.

   19. Obiectio NS to Pre-Sentence Report. The defendant understands

         that pursuant to the United States District Court for the Middle

         District of Pennsylvania's "Policy for Guideline Sentencing,"

         both the United States and defendant must communicate to the

         Probation Officer within 14 days after disclosure of the pre-

         sentence report any objections they may have as to material

        information, sentencing classifications, applicable Sentencing

        Guidelines ranges, and policy statements contained in or

        omitted from the report. The defendant agrees to meet with the

        United States at least five days prior to sentencing in a good

        faith attempt to resolve any substantive differences. Ifany
                                    19
  Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 20 of 33




   issues remain unresolved, they shall be communicated to the

   Probation Officer for inclusion in an addendum to the pre-

   sentence report. The defendant agrees that unresolved

   substantive objections will be decided by the Court after

   briefing, a pre'sentence hearing, or at the sentencing hearing,

   where the standard or proofwill be a preponderance ofthe

   evidence, and the Federal Rules ofEvidence, other than with

   respect to privileges, shall not apply under Fed. R. Evid.

   1101(0(3), and the Court may consider any reliable evidence,

   including hearsay. Objections by the defendant to the pre-

   sentence report or the Court's rulings, wiII not be grounds for

   withdrawal of a plea of guilty.

20. Relevant Sente       Information . At sentencing, the United

   States will be permitted to bring to the Court's attention, and

   the Court wiII be permitted to consider, all relevant information

   about the defendant's background, character and conduct,

   including the conduct that is the subject ofthe charges that the

   United States has agreed to dismiss, and the nature and extent
                               20
     Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 21 of 33




      of the defendant's cooperation, if any. The United States will be

      entitled to bring to the Court's attention and the Court will be

      entitled to consider any failure by the defendant to fulfill any

      obligation under this Agreement.

   21. Non-Limitation on Government's Response. Nothing in this

      Agreement shall restrict or limit the nature or content of the

      United States' motions or responses to any motions filed on

      behalf of the defendant. Nor does this Agreement in any way

      restrict the Government in responding to any request by the

      Court for briefing, argument or presentation ofevidence

      regarding the application ofSentencing Guidelines to the

      defendant's conduct, including but not limited to, requests for

      information concerning possible sentencing departures.

G. Court Not Bound by Plea Aergement
   22. Court Not Bo und bv Terms . The defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

      Court is free to impose upon the defendant any sentence up to
                                  2l
     Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 22 of 33




       and including the maximum sentence of imprisonment for five

       years, a fine of $250,000, a maximum term of supervised release

       ofup to three years, which shall be served at the conclusion of

       and in addition to any term of imprisonment, the costs of

       prosecution, denial ofcertain federal benefits, and assessments

       totaling $100.

   23. No Withdrawal of Plea Basqd on Sentepce or Recommendations.

       If the Court imposes a sentence with which the defendant is

       dissatisfied, the defendant will not be permitted to withdraw

       any guilty plea for that reason alone, nor will the defendant be

       permitted to withdraw any guilty plea should the Court decline

       to follow any recommendations by any of the parties to this

       Agreement.

H. Breach of Plea Aereement by Defend.ant
   24. Breach of        ment. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

       Agreement, then the United States shall, in its discretion, have

       the option ofpetitioning the Court to be relieved ofits
                                   22
  Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 23 of 33




   obligations under this Agreement. Whether the defendant has

   completely fulfiIled all of the obligations under this Agreement

   shall be determined by the Court in an appropriate proceeding,

   during which any disclosures and documents provided by the

   defendant shall be admissible, and during which the United

   States shall be required to establish any breach by a

   preponderance ofthe evidence. In order to establish any breach

   by the defendant, the United States is entitled to rely on

   statements and evidence given by the defendant during the

   cooperation phase of this Agreement, if any.

25. Remedies for Breach. The defendant and the United States

   agree that in the event the Court concludes that the defendant

   has breached the Agreement:

   a   The defendant wi-lI not be permitted to withdraw any guilty

       plea tendered under this Agreement and agrees not to

       petition for withdrawal of any guilty pleai




                               23
  Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 24 of 33




    b. The United States wiII be free to make any
        recommendations to the Court regarding sentencing in this

        C&Se,


    c   Any evidence or statements made by the defendant during

        the cooperation phase of this Agreement, if any, wiII be

        admissible at any trials or sentencings;

    d. The United States will be free to bring any other charges it
        has against the defendant, including any charges originally

        brought against the defendant or which may have been

        under investigation at the time ofthe plea. The defendant

        waives and hereby agrees not to raise any defense to the

        reinstatement ofthese charges based upon collateral

        estoppel, Double Jeopardy, statute of limitations, assertion

        of Speedy Trial rights, or other similar grounds.

26. Violation of T ,2   While PIea or Sentence Pendin 5t . The

    defendant understands that it is a condition of this Agreement

    that the defendant refrain from any further violations ofstate,

    Iocal, or federal law while awaiting plea and sentencing. The
                                  24
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 25 of 33




 defendant acknowledges and agrees that ifthe Government

 receives information that the defendant has committed new

 crimes while awaiting plea or sentencing in this case, the

 Government may petition the Court and, if the Court finds by a

 preponderance ofthe evidence that the defendant has

 committed any other criminal offlense while awaiting plea or

 sentencing, the Government shall be free at its sole election to

 either: (d withdraw from this Agreementi or (b) make any

 sentencing recommendations to the Court that it deems

 appropriate. The defendant further understands and agrees

 that, if the Court finds that the defendant has committed any

 other offense while awaiting plea or sentencing, the defendant

 will not be permitted to withdraw any guilty pleas tendered

 pursuant to this Agreement, and the government wilI be

 permitted to bring any additional charges that it may have

 against the defendant.




                             25
    Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 26 of 33




L Appeal lVaiver
   27. Appeal Waiver - Direct. The defendant is aware that Title 28,

      United States Code, $ 1291 affords a defendant the right to

      appeal ajudgment ofconviction and sentencei and that Title 18,

      United States Code, $ 37a2(a) affords a defendant the right to

      appeal the sentence imposed. Acknowledging all of this, the

      defendant knowingly waives the right to appeal the conviction

      and sentence. This waiver includes any and all possible

      grounds for appeal, whether constitutional or non-

      constitutional, incluiling, but not limited to, the manner in

      which that sentence was determined in light of United States v.

      Booker,543 U.S. 220 (2005). The defendant further

      acknowledges that this appeal waiver is binding only upon the

      defendant and that the United States retains its right to appeal

      in this case.

   28. Collateral Appeal Waiver. The defendant acknowledges,

      understands and agrees that, by pleading guilty pursuant to

      this Agreement, the defendant voluntarily and knowingly
                                  26
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 27 of 33




   waives the right to collaterally attack the defendant's

   conviction, sentence, or any other matter relating to this

   prosecution, including but not limited to a motion to vacate

   judgment under Title 28, United States Code, Section 2255; a

   petition for a writ of habeas corpus under Title 28, United

   States Code, Section 2241i or any other motion or writ seeking

   collateral relief. However, no provision of this agreement shall

   preclude the defendant from pursuing in an appropriate forum

   any appeal, collateral attack, writ, or motion claiming that the

   defendant received constitutionally ineffective assistance of

   counsel ln the event the defendant raises a claim ofineffective

   assistance ofcounsel, the defendant hereby agrees (a) that the

   Government retains its right to oppose any sueh claim on

   procedural or substantive groundsi and (b) that counsel for the

   United States may confer with any of the defendant's prior

   counsel whose performance is attacked in such a claim, for

   purposes ofpreparing any response or for any hearing

   necessitated by the fiIing of such a claim.
                               27
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 28 of 33




29. AonealW        Breach. The defendant acknowledges that

   pursuing a direct appeal or any collateral attack waived in the

   preceding paragraph(s) may constitute a breach ofthis

   Agreement. The Government agrees that the mere filing of a

   notice of appeal is not a breach of the Agreement. The

   Government may declare a breach only after the defendant or

   the defendant's counsel thereafter states, either orally or in

   writing, a determination to proceed with an appeal or collateral

   attack raising an issue the Government deems barred by the

  waiver. The parties acknowledge that the pursuit ofan appeal

   or any collateral attack constitutes a breach only if a court

   determines that the appeal or collateral attack does not present

   an issue that a judge may reasonably conclude is permitted by

   an exception to the waiver stated in the preceding paragraph(s)

   or constitutes a "miscarriage ofjustice" as that term is defined

  in applicable law.




                               28
    Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 29 of 33




J. Other Provieions
   30. Asreement Not Bindine on Other Aeencies. Nothing in this

       Agreement shall bind any other United States Attorney's Office,

       state prosecutor's office, or federal, state, or local law

       enforcement agency.

   31. No Civil Claims or Suits. The defendant a grees not to pursue or

       initiate any civil claims or suits against the United States of

       America, its agencies or employees, whether or not presently

       known to the defendant, arising out of the investigation,

       prosecution or cooperation, ifany, covered by this Agreement,

       including but not limited to any claims for attorney's fees and

       other litigation expenses arising out ofthe investigation and

       prosecution of this matter. By the defendant's guilty plea in

       this matter the defendant further acknowledges that the

       Government's position in this litigation was taken in good faith,

       had a substantial basis in law and fact and was not vexatious.

   32. Plea Asreement Serves Ends of Justice. The United States is

       entering this Agreement with the defendant because this
                                    29
 Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 30 of 33




   disposition ofthe matter fairly and adequately addresses the

   gravity ofthe offenses from which the charges are drawn, as

   weII as the defendant's role in such offense(s), thereby serving

   the ends ofjustice.

33. Merser of All Prior Ne,qotiatigns. This document states the

   complete and only Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case, and is binding only on the parties to this

   Agteement and supersedes all prior understandings or plea

   offers, whether written or oral. This agreement cannot be

   modified other than in writing that is signed by aII parties or on

   the record in court. No other promises or inducements have

   been or will be made to the defendant in connection with this

   case, nor have any predictions or threats been made in

   connection with this plea. Pursuant to Rule ll ofthe Federal

   Rules of Criminal Procedure, the defendant certifies that the

   defendant's plea is knowing and voluntary and is not the result



                               30
Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 31 of 33




    of force or threats or promises apart from those promises set

   forth in this Agreement.

34. Defendant is Satisfied with Assistance of Counsel. The

   Defendant agrees that the defendant has discussed this case

    and this Agreement in detail with the defendant's attorney, who

    has advised the defendant ofthe defendant's Constitutional and

   other trial and appellate rights, the nature ofthe charges, the

   elements of the offenses the United States would have to prove

   at trial, the evidence the United States would present at such

   trial, possible defenses, the advisory Sentencing Guidelines and

   other aspects of sentencing, potentiai losses of civil rights and

   privileges, and other potential consequences ofpleading guilty

   in this case. The defendant agrees that the defendant is

   satisfied with the legal services and advice provided to the

   defendant by the defendant's attorney.

35. Deadline for Acceptance of Plea Asreement. The original of this

   Agreement must be signed by the defendant and defense

   counsel and received by the Unitetl States Attorney's Office on
                               31
       Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 32 of 33




         or before 5:00 p.m., February 9,2024, otherwise the offer may,

         in the sole discretion of the Government, be deemed withdrawn.

   36. Reouired Sie.nqtures. None of the terms of this Agreement shall

         be binding on the Office of the United States Attorney for the

         Middle District of Pennsylvania until signed by the defendant

         and defense counsel and then signed by the United States

         Attorney or his designee.



                         ACInIOWLEDGMENTS

     I have read this agreement and carefully reviewed every part ofit
with my attorney. I fuily understand it and I voluntarily agree to it.


l-\ Y'zy                                   ilA.L,/^Jr,o:#,-
Date                                       DAWN TROTTA
                                           Defendant

       I am the defendant's counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my client's
decision to enter into this agreement is an informed and voluntary one.

 t\trIr+                                     Rtnk l/u--
Date                                       SHELLEY L. CENTIM, ESQ.
                                           Counsel for Defendant


                                     9.}
       Case 3:23-cr-00135-MEM Document 21 Filed 02/02/24 Page 33 of 33




                                          GERARD M. KAX,AM
                                          United States Attorney


 tf tfut"r                         By
Date                                               M. BUCHANAN
                                              f,a n United States Attorney
JMB/2020R00260[anuary 9, 2024
VEESION DATE: March 8, 2021




                                     DJ
